Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 1 of 28 PageID 453




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      OCALA DIVISION

NEW LENOX INDUSTRIES, INC., a Florida
corporation,

                                 Plaintiff,

v.                                                                 Case No. 5:06-cv-184-Oc-10GRJ

CHARLES H. FENTON, an individual,
AIRBELT SYSTEMS, LLC.,

                      Defendants.
______________________________________/

                              REPORT AND RECOMMENDATION1

        Pending before the Court is Defendants’ Motion To Dismiss, Or Alternatively, For

A More Definite Statement. (Doc. 5.) Plaintiff has filed a response in opposition. (Doc.

15.) On August 30, 2006 the Court granted Plaintiff’s request to engage in limited

jurisdictional discovery (Doc. 23)2 before the Court ruled upon Defendant’s challenge to

personal jurisdiction and further authorized the parties to file supplemental memoranda

after completion of the limited jurisdictional discovery. Pursuant to the Court’s invitation,

the parties filed supplemental memoranda (Docs. 44 & 45) and, accordingly, the matter

is now ripe for review.




             1
               Specific written objections may be filed in accordance with 28 U.S.C. § 636, and Rule 6.02, Local
     Rules, M.D. Fla., within ten (10) days after service of this report and recommendation. Failure to file timely
     objections shall bar the party from a de novo determination by a district judge and from attacking factual
     findings on appeal.

             2
             The Court also issued a further order on October 30, 2006 authorizing the Plaintiff to issue
     subpoenas to the IRS to obtain selected documents. (Doc. 43.)
Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 2 of 28 PageID 454




       For the following reasons, Defendants’ Motion To Dismiss, Or Alternatively For A

More Definite Statement is due to be DENIED in all respects other than as to Count V of

the Complaint, which is due to be dismissed.

                                   I. BACKGROUND AND FACTS

       This case concerns a claim by Plaintiff, New Lenox Industries (“NLI”) against

Defendant, Charles Fenton (“Fenton”) and Defendant Airbelt Systems, LLC (“Airbelt”),

alleging that Fenton, acting through, AirBelt, disclosed and licensed NLI’s confidential

and proprietary information to third parties concerning NLI’s cold gas airbag inflation

mechanism technology. Plaintiff’s complaint purports to allege causes of action for

breach of a confidentiality agreement, fraud, misappropriation of trade secrets, civil

theft, unjust enrichment and wrongful assignment of patents.

       A review of the allegations in the complaint, and of the declarations and

depositions filed of record, disclose the following details. NLI is a Florida corporation

that develops and owns technology, which inflates airbags used in vehicles.3 Fenton, a

Utah resident,4 worked as an airbag industry consultant and later formed AirBelt, a

closely held California limited liability company, with Lawrence Schultz (“Schultz”).5

Airbelt developed, marketed and patented its own air bag technology.6

       According to the allegations in NLI’s Complaint, a third party, which was

considering investing in NLI, retained Fenton to evaluate and audit NLI’s airbag


           3
               Doc. 2, Complaint, ¶ 2.
           4
               Doc. 8, Declaration of Charles H. Fenton, ¶1.
           5
               Doc 45, Deposition of Lawrence Schultz, pp. 27-28.
           6
               Id. at pp. 5, 28-29, 34.

                                                    2
Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 3 of 28 PageID 455




technology at NLI’s Dunellon, Florida office.7 Before the evaluation, on January 24,

1995, Fenton entered into a confidentiality agreement (the “Agreement”) with NLI

agreeing not to use or disclose NLI’s confidential information for three years.8 According

to NLI, at that time, NLI’s airbag technology was not known in the airbag or automotive

industries and no one else had held or had applied for a patent covering the

technology.9 NLI alleges that it was the first company to develop a mechanism to

properly inflate a cold gas airbag - the micro-detonator.10

       During the evaluation of NLI’s technology, NLI disclosed to Fenton its micro-

detonator drawings and technology. Additionally, NLI disclosed to Fenton its newer

technology that created a less explosive charge and enhanced the directional shock

wave of an airbag.11 In a letter dated February 12, 1995, NLI emphasized to Fenton the

importance of keeping the disclosed proprietary information confidential.12

       Following the evaluation, Fenton wrote a letter on January 31, 1995 to NLI

stating that NLI needed 24 to 30 months of development before it was ready to market

its airbag technology.13 Fenton also sent a negative report regarding NLI’s airbag




           7
               Complaint, ¶ 3.
           8
               Id. at ¶¶ 4-5.
           9
               Id. at ¶ 5.
           10
                Id. at ¶ 9.

           11
                Id. at ¶ 10.
           12
                Id. at ¶ 11.

           13
                Id. at ¶ 6.

                                             3
Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 4 of 28 PageID 456




technology to the third party who had retained him, and after receiving the negative

report, the third party did not invest in NLI.14

       Thereafter, Fenton and Schultz created the company AirBelt in October of 1995,

and after its creation Fenton served as President.15 Airbelt developed and patented a

spool valve to control the explosive airflow in the cold gas airbag inflation system.16 To

market the spool valve technology on behalf of Airbelt, Fenton attended two airbag

technology conferences in Florida. There, Fenton passed out literature detailing Airbelt’s

spool valve technology, and eventually, Airbelt entered into a license with one of the

manufacturers Fenton had contacted at the Florida conferences.17

       Plaintiff’s theory of the case is that Fenton, in the guise of an industry consultant,

stole NLI’s proprietary technology. Then, according to Plaintiff, Fenton formed Airbelt for

the purpose of developing and patenting similar technology based on the stolen

information, and then he marketed the technology to third parties.

       In their Motion to Dismiss, Defendants argue that Plaintiff’s Complaint should be

dismissed for lack of personal jurisdiction over the Defendants. Defendants also allege

that each cause of action in Plaintiff’s Complaint fails to state a claim upon which relief

may be granted. Specifically, Defendants argue that: (1) the claim for breach of contract

is barred by the statute of limitations; (2) the claim for fraud is barred by the economic

loss rule and/or preempted by Florida’s Uniform Trade Secrets Act (“FUTSA”); (3) the


           14
                Id.
           15
                Doc. 45, Deposition of Charles H. Fenton, pp. 22-23, 27.
           16
                Id. at 29-30.

           17
                Id. at 60-73, 86-87.

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 5 of 28 PageID 457




claim for trade secret misappropriation is barred by the economic loss rule and/or fails

to allege what Plaintiff sought to protect and what Defendants are accused of

misappropriating; (4) the claim for civil theft does not apply to trade secret

misappropriation; (5) the claim for unjust enrichment is preempted by FUTSA; and (5)

the assignment of patents claim is not recognized in Florida and/or lacks an equitable

remedy.

                                      II. STANDARD OF REVIEW

       In determining the propriety of granting a motion to dismiss, a court must accept

all the factual allegations in the complaint as true and evaluate the inferences derived

from the facts in the light most favorable to the plaintiff.18 In passing on a motion to

dismiss under Rule 12(b)(6), the Court is mindful that “[d]ismissal of a claim on the basis

of barebones pleadings is a precarious disposition with a high mortality rate.”19 A

complaint should not be dismissed for failure to state a claim unless it appears “beyond

doubt that the plaintiff can prove no set of facts in support of his claim which would

entitle him to relief.”20 The threshold of sufficiency that a complaint must meet to survive

a motion to dismiss is exceedingly low.21




            18
                 See e.g., Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1273 n.1 (11th Cir. 1999).
            19
                 Int’l Erectors, Inc. v. Wilhoit Steel Erectors Rental Serv., 400 F.2d 465, 471 (5th Cir. 1968).
            20
               Conley v. Gibson, 355 U.S. 41, 45-46, 78 S. Ct. 99, 101-02 (1957). See also Cook & Nichol, Inc.
    v. The Plimsoll Club, 451 F.2d 505, 506 (5th Cir. 1971)(“a motion to dismiss for failure to state a claim
    should not be granted unless it appears to a certainty that the plaintiff would not be entitled to recover under
    any state of facts which could be proved in support of his claim”).
            21
                 See Ancata v. Prison Health Servs., 769 F.2d 700, 703 (11th Cir. 1985)(citation omitted).

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 6 of 28 PageID 458




                                          III. DISCUSSION

A. Personal Jurisdiction

       A court must address a challenge to its exercise of personal jurisdiction before

looking at the other claims in a motion to dismiss.22 The plaintiff has the burden of

initially establishing a prima facie case of personal jurisdiction over a nonresident

defendant. “A prima facie case is established if the plaintiff presents sufficient evidence

to defeat a motion for a directed verdict.”23 The district court accepts the facts alleged by

the plaintiff as true as long as they do not conflict with the defendant’s affidavits.24

Where the pleadings and supporting documents are in conflict, the court must construe

all reasonable inferences in favor of the plaintiff. However, the plaintiff must provide

additional support for his claim of personal jurisdiction where the defendant has made a

strong argument against such jurisdiction.25

       In the instant case, Plaintiff has made the requisite prima facie showing in the

Complaint, and Plaintiff has offered additional support through Plaintiff’s Opposition to

Motion to Dismiss (Docs. 15 and 45) and accompanying depositions and declarations.

       A court must engage in a two-part analysis to determine whether it has personal

jurisdiction over a nonresident defendant.26 First, the court must determine if jurisdiction



           22
                Madara v. Hall, 916 F.2d 1510, 1514 (11th Cir. 1990).

           23
              Cable/Home Communication Corp. v. Network Prods., Inc., 902 F.2d 829, 855 (11th Cir. 1990)
    (quoting Morris v. SSE, Inc., 843 F.2d 489, 492 (11th Cir. 1988)).

           24
                Id.

           25
                Wallack v. Worldwide Mach. Sales, Inc., 278 F. Supp. 2d 1358, 1364 (M.D. Fla. 2003).

           26
                Horizon Aggressive Growth v. Rothstein-Kass, 421 F.3d 1162, 1166 (11th Cir. 2005).

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 7 of 28 PageID 459




can be obtained over the defendants under Florida’s long-arm statute. Second, the

court must then decide whether the nonresident defendants have sufficient “minimum

contacts” with Florida to meet the constitutional requirements under the Due Process

Clause of the Fourteenth Amendment.27 Even if jurisdiction is found under Florida’s

long-arm statute, a separate review of the facts must be undertaken by the Court to

determine if the constitutional test is met.28

1. Florida’s Long-Arm Statute

       Because Florida law dictates the reach of the long-arm statute, this Court must

interpret it in the same way that the Florida Supreme Court would.29 Therefore, this

Court must strictly construe the statute,30 and the burden of proving the facts which

make the statute applicable to the Defendants is on the Plaintiff.31

       Florida’s long arm statute, Florida Statute § 48.193(1), provides in relevant part:

       [a]ny person, whether or not a citizen or resident of this state, who
       personally or through an agent does any of the acts enumerated in this
       subsection thereby submits himself or herself . . . to the jurisdiction of the
       courts of this state for any cause of action arising from doing any of the
       following acts:

       (a) Operating, conducting, engaging in, or carrying on a business or
       business venture in this state or having an office or agency in this state.



            27
                 Id.

            28
              Cable/Home Communication, 902 F.2d at 856 (quoting Venetian Salami Co. v. Parthenais, 554
    So.2d 499, 500 (Fla. 1989)).
            29
                 Horizon Aggressive Growth, 421 F.3d at 1167.
            30
                 Madara, 916 F.2d at 1514.
            31
               Restorative Prods., Inc. v. Mmar Med. Group, Inc., No. 94-1920 CIV-T-17A, 1995 U.S. Dist.
    LEXIS 18695, at *5 (M.D. Fla. Oct. 18, 1995); Bloom v. A. H. Pond Co., Inc., 519 F. Supp. 1162, 1168 (S.D.
    Fla. 1981).

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 8 of 28 PageID 460




       (b) Committing a tortious act within this state...

              *      *      *
       (g) Breaching a contract in this state by failing to perform acts required by
       the contract to be performed in this state...32


       To meet the Florida long-arm, the Plaintiff must demonstrate that the “connexity”

requirement has been met--a higher standard than that which is required by most other

jurisdictions’ long-arm statutes. To satisfy this requirement, “the cause of action [must

have] some [ ] connection to a specific act committed in Florida.”33

       Plaintiffs claim they have satisfied Florida’s long arm statute because Defendants

“conducted and engaged in business in this state, have committed a tort within this

state, and have breached contractual duties to NLI in this state.”34 To establish that a

defendant engaged in a general course of business activity in Florida, the activities the

defendant carried out “must be considered collectively and show a general course of

business activity in the State for a pecuniary benefit.”35 Plaintiff asserts that Defendants

engaged in a regular course of business activity in Florida as evidenced by the following

four events: (1) Fenton evaluated NLI’s technology in NLI’s Dunnellon, Florida office; (2)

Fenton communicated with NLI regarding a prospective position at NLI; (3) Fenton on

behalf of Airbelt attended two trade shows in Florida and; (4) at one of the trade shows,

Fenton, through Airbelt, secured a license to sell Airbelt’s technology.


            32
                 Fla. Stat. § 48.193 (1995).

            33
                 Bloom, 519 F. Supp. at 1168.
            34
                 Complaint, Doc. 2, ¶ 16.
            35
              Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d 623, 627 (11th Cir. 1996) (quoting Dinsmore v.
    Martin Blumenthal Associates, Inc. 314 So.2d 561, 564 (Fla. 1975)).

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 9 of 28 PageID 461




       These acts do not establish that either Defendant engaged in a general course of

business activity in Florida. During his first trip to Florida, Fenton performed due

diligence as a consultant at the behest of a third party. His own consulting company did

not direct business in Florida. Moreover, merely discussing a discrete offer for

employment is not sufficient to establish that Fenton was conducting a general course

of business in Florida. Additionally, there is no evidence that Defendants purposely

directed their sales efforts to Florida by attending two airbag industry trade shows and

fortuitously securing a client at one of the shows.36

       With respect to whether Plaintiffs can establish the tortious activity prong of

Florida’s long arm statute, “[t]he plaintiff must demonstrate that the nonresident

defendant ‘committed a substantial aspect of the alleged tort in Florida’ by establishing

that the activities in Florida were essential to the success of the tort.”37 The tortious act

does not have to take place in Florida, but “a substantial aspect” would include “‘the

situation in which a foreign tortious act causes injury within the forum.’”38

       Plaintiffs allege that both Fenton and Airbelt committed a tort in Florida based

upon the fact that Fenton traveled to Florida for the purpose of misappropriating NLI’s

confidential and proprietary information and then formed Airbelt to patent and market

the stolen technology, which Defendants accomplished during two airbag industry trade

shows in Florida, essentially perpetuating the tort.



            36
                 Cf. Geodetic Services Inc. v. Metronoer AS, 2000 WL 1027222, *5 (M.D. Fla. 2000).
            37
              Cable/Home Communication, 902 F.2d at 857 (citing Williams Elec. Co., Inc. v. Honeywell, Inc.,
    854 F.2d 389, 394 (11th Cir. 1988)).

            38
                 Id. at 857 (quoting Rebozo v. Wash. Post Co., 515 F.2d 1208,1212 (5th Cir. 1975)).

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 10 of 28 PageID 462




        Defendants suggest that they did not commit a tort in Florida because Airbelt’s

 technologies that were sold are unrelated to NLI’s technolgies. According to Airbelt,

 their “spool valve” technology restricts the airflow unlike NLI’s technology which initiates

 the airflow. Moreover, relying upon Doe v. Thompson,39 Defendants maintain that

 Fenton cannot be forced to defend a suit against him personally based on one meeting

 in Florida as a representative of a third party.

        At this stage of the proceedings, the Court does not need to determine whether

 Airbelts’ technologies are the same as NLI’s or are derived from NLI’s technologies

 because for purposes of determining whether Plaintiff has satisfied Florida’s long arm

 statute the Court must accept the allegations in the Complaint as true and must

 evaluate the inferences derived from the facts in the light most favorable to the Plaintiff.

 Simply stated, the Plaintiff has alleged that Fenton stole NLI’s technology while in

 Florida performing his due diligence for a third party and then used the confidential

 technology to market a similar air bag product through Airbelt during at least two trade

 show visits to Florida.

        Moreover, Defendants’ reliance on Doe is misplaced because Fenton is alleged

 to have performed due diligence in his capacity as an independent contractor,

 conducting his own consulting on behalf of the third party, and not as an officer or



             39
                 620 So.2d 1004 (Fla. 1993). In Doe v. Thompson, the Florida Supreme Court held that under the
     corporate shield doctrine “acts of [a] corporate employee performed in [his] corporate capacity do not form
     the basis for jurisdiction over a corporate employee in his individual capacity.” The Florida Supreme Court
     affirmed the rationale for the corporate shield doctrine as stated by the New Hampshire Supreme Court in
     Estabrook v. Wetmore which found that “it is unfair to force an individual to defend a suit brought against
     him personally in a forum with which his only relevant contacts are acts performed not for his own benefit
     but for the benefit of his employer.”


                                                   10
Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 11 of 28 PageID 463




 employee of a third party. Accordingly, the Court concludes that Plaintiff sufficiently has

 established under Florida’s tortious activity section of the long arm statute that both

 Defendants committed a substantial aspect of a tort in Florida.

        In addition to satisfying the tortious activity prong of Florida’s long arm statute,

 Plaintiffs have also established that Defendant Fenton falls within the reach of

 subsection (g) of the Florida long-arm statute, which recognizes personal jurisdiction

 over a defendant who breaches a contractual obligation existing in Florida. During

 Fenton’s first trip to Florida to perform due diligence, Fenton signed a nondisclosure

 agreement in which he agreed to keep NLI’s airbag technology confidential. Plaintiffs

 allege that Fenton breached this agreement, an agreement executed in Florida to

 protect NLI, a Florida corporation, from damage as a result of the unauthorized

 disclosure of its technology. Accordingly, as to Defendant Fenton, the Plaintiffs have

 also established that the claimed conduct by the Defendant falls within the purview of

 section (g) of Florida’s long arm statute.

 2. Due Process

        Having determined that the Plaintiffs have established that the claims against the

 Defendants fall within the purview of Florida’s long-arm statute, the Court must next

 determine whether each individual defendant has sufficient minimum contacts with the

 forum to satisfy the due process requirements of the Fourteenth Amendment of the

 Constitution so that the exercise of personal jurisdiction does not offend “traditional

 notions of fair place and substantial justice.”40



            40
                 Int’l Shoe Co. v. Washington, 356 U.S. 310, 326 (1945).

                                                    11
Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 12 of 28 PageID 464




        The Eleventh Circuit utilizes a three-part test to determine whether there are

 sufficient minimum contacts:

         [f]irst, the contacts must be related to the plaintiff’s cause of action . . .
         Second, the contacts must involve some act by which the defendant
         purposefully avails itself of the privilege of conducting activities within the
         forum . . . Third, the defendant’s contacts with the forum must be such
         that the defendant should reasonably anticipate being haled into court
         there.41

 Minimum contacts may support two types of personal jurisdiction, general jurisdiction

 and specific jurisdiction. Specific jurisdiction is involved where a party’s contacts with

 the forum relate to the cause of action. General jurisdiction, on the other hand, is where

 a party’s contacts are unrelated to the litigation, but nonetheless are “continuous and

 systematic,” such as owning property, running a business, or maintaining a bank

 account.42 In the instance case, the minimum contacts alleged by Plaintiff are directed to

 the cause of action and therefore relate to specific jurisdiction. As such the first part of

 the test - that the contacts are related to the cause of action - is established.

        With regard to the second and third parts of the test, Defendants argue that each

 part of the test cannot be met because of the Defendants’ lack of contacts with the state

 of Florida. Defendants highlight that they do not do business in Florida, have no office,

 agents, employees or property in Florida and do not advertise in Florida.

        Plaintiff counters that Defendant Fenton’s contacts with Florida include his

 execution of the confidentiality agreement with NLI in Dunnellon, Florida, a letter sent to



             41
                Posner v. Essex Ins. Co., 178 F.3d 1209, 1220 (11th Cir. 1999) (quoting Vermeulen v. Renault,
     U.S.A., Inc., 985 F.2d 1534, 1546 (11th Cir. 1993)).

             42
              Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414-15 (1984) (citing Perkins v.
     Benguet Consol, Mining Co., 342 U.S. 437, 438, 445 (1952)).

                                                   12
Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 13 of 28 PageID 465




 Florida regarding NLI’s technology, subsequent communication with NLI about

 employment opportunities and two visits to Florida to attend trade shows. Taken

 together, Plaintiff maintains that Fenton’s contacts constitute purposeful availment.43

 Furthermore, Plaintiff argues that Defendant Airbelt is the alter ego of Fenton and thus

 meets the requisite for sufficient contacts through Fenton.

        A number of courts have recognized that where a defendant’s tortious conduct

 is intentionally and purposefully directed at a resident of the forum, the minimum

 contacts requirement is met, and the defendant should anticipate being haled into court

 in that forum.44 In this case, Plaintiff alleges that Defendants committed one or more

 intentional torts and breached a contract against Plaintiff who was injured in Florida.

        Accordingly, under the three-part test enumerated above, because Defendants’

 contacts with Florida relate to Plaintiff’s cause of action and the Defendants purposefully

 directed their conduct toward a Florida resident, the Defendants reasonably should

 have anticipated being haled into court here. The Court therefore concludes that the

 assertion of personal jurisdiction over the Defendants passes constitutional muster.




             43
               Sea-Lift, Inc. v. Refinadora Costarricense, 792 F.2d 989, 994 (11th Cir. 1986) (finding a foreign
     defendant’s direct solicitation of business from a forum resident as “purposeful availment”).
              44
                 Calder v. Jones, 465 U.S. 783, 790 (1984); Posner, 178 F.3d at 122; Silver v. Levinson, 648
     So.2d 240, 243-44 (Fla. Dist. Ct. App. 1995); Allerton v. State Dep’t of Insurance, 635 So.2d 36, 40 (Fla.
     Dist. Ct. App. 1994); Int’l Harvester Co. v. C. Rex Mann, 460 So.2d 580, 581-82 (Fla. Dist. Ct. App. 1984)
     (“[T]he commission of a tort within Florida by a nonresident is a sufficient “minimum contact” with Florida to
     justify personal jurisdiction in light of the federal constitution.”) (citing Godfrey v. Neumann, 373 So.2d 920,
     922 (Fla. 1979)).

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 14 of 28 PageID 466




 B. Service of Process on Airbelt

        In addition to challenging personal jurisdiction, Defendant Airbelt also argues that

 the Court does not have personal jurisdiction over it because it was not properly served

 with process in this case.

        Service of process in an action in federal court is detailed in Rule 4 of the Federal

 Rules of Civil Procedure. Pursuant to Rule 4(h)(1) service of process on a corporation

 may be perfected in the manner prescribed by state law or by serving an “officer, a

 managing or general agent, or any other agent authorized by law to receive service of

 process ... “

        In its original motion Airbelt alleged that service of process was ineffective

 because the summons and complaint was served upon an employee of a private

 mailbox location, where Larry Schultz maintained a private mailbox, rather than being

 served upon Schultz personally as Airbelt’s registered agent.

        In addition to attempting to serve Schultz, Plaintiff also served Charles Fenton,

 as the President of Airbelt. Airbelt challenged this service as well, contending that

 Fenton is not an officer of Airbelt. However, Fenton subsequently filed an Amended

 Declaration, admitting that Airbelt was formed as an “LLC” in California and that he is

 the President and a member of the LLC.45 Consequently, any issue as to whether

 service of process was effective on Airbelt has been remedied. Because Fenton is an

 officer of Airbelt service upon him on behalf of Airbelt is in compliance with the

 requirements of Rule 4 Fed. R. Civ. P. and is in compliance with Florida Statute §



            45
                 Doc. 30, ¶6.

                                              14
Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 15 of 28 PageID 467




 48.081(1). Accordingly, Defendant Airbelt’s motion to dismiss for improper service of

 process is due to be denied.

 C. Failure To State A Cause Of Action

        1. Breach of Contract Against Defendant Fenton

        The elements of a breach of contract action are: (1) a valid contract, (2) a

 material breach, and (3) damages.46 Defendants do not dispute that the Complaint

 alleges these requisite elements. Instead, Defendants argue that the statute of

 limitations has run on Plaintiff’s breach of contract claim based upon the fact that the

 nondisclosure agreement executed by Fenton prohibited him from disclosing NLI’s

 proprietary information for a period of three years.

        NLI alleges in its Complaint that it disclosed the confidential information to

 Fenton on or around January 24, 1995.47 Consequently, Fenton argues that the

 information remained confidential only until January 24, 1998. Thus, according to

 Fenton, Plaintiff was required to file the lawsuit no later than January 24, 2003, five

 years48 after the last possible date Fenton was prohibited from disclosing the

 confidential information.

        The central problem with Defendant’s argument at this point is that the Plaintiff

 has not alleged in the Complaint when Fenton disclosed the confidential information or

 when the Plaintiff was first damaged by the alleged breach. It is axiomatic that under



             46
                  Beck v. Lazard Freres & Co., LLC, 175 F.3d 913, 914 (11th Cir. 1999).

             47
                  Doc. 2, ¶5.

             48
               The statute of limitations under Florida law for a breach of contract action is five years. Fla. Stat.
     §95.11(2)(b).

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 16 of 28 PageID 468




 Florida law, a cause of action accrues, for statute of limitations purposes “when the last

 element constituting the cause of action occurs.”49 Consequently, if the alleged damage

 to Plaintiff occurred within the five year period preceding April 28, 2006 (the date the

 complaint was filed in state court) the action would not be time barred. Thus, the trigger

 date for the five year statute of limitations is not necessarily the last day of the three

 year nondisclosure period but rather the date when Plaintiff allegedly suffered damage

 as a result of the breach, which would be the date that the last element of the cause of

 action occurred.

        In the instant case because it is not evident from the Complaint when Fenton

 disclosed the proprietary information or the date that Plaintiff contends it was damaged

 as a result of the alleged breach, the Court cannot conclude that the claim is time-

 barred.50 The guiding rule is that a complaint should not be dismissed for failure to state

 a claim unless it appears “beyond doubt that the plaintiff can prove no set of facts in

 support of his claim which would entitle him to relief.”51 Accordingly, because Defendant

 cannot prove beyond doubt that Plaintiff can prove no set of facts to support a claim for

 breach of contract against Fenton, Defendant’s motion to dismiss Count I of the

 Complaint is due to be denied.




             49
                  Fla. Stat. §95.031(1).
              50
                 Additionally, Plaintiff argues that there are sufficient grounds to support the argument that the
     statute of limitations was tolled. The determination of whether there are valid reasons for tolling under Fla.
     Stat. §95.051(1)(a) or for tolling of the statute of limitations under equitable principles is not appropriate on a
     motion to dismiss. By necessity that determination would require the Court to go beyond the four corners of
     the Complaint.
             51
                  Conley, 355 U.S. at 45-46.

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 17 of 28 PageID 469




        2. Fraud In The Inducement Claim

        Defendants request the Court to dismiss Plaintiff’s claim for fraud in the

 inducement in count II of the Complaint, contending that it is: (1) barred by the

 economic loss rule, and (2) preempted by the Florida Uniform Trade Secrets Act.

 (“FUTSA”.)52 The Court will address each of these arguments in turn.

        With regard to the economic loss rule, Defendants argue that Plaintiff cannot

 bring a tort action where the only damages suffered are the “economic losses” that flow

 from a contractual breach.53 Defendants contend that Plaintiff’s “allegation that ‘Fenton

 represented to Barnes that he would not make such a disclosure or use of this

 information’ plainly relates to performance of the Agreement.”54 According to

 Defendants, failure to comply with that representation would only be breach of the

 Agreement and merit contractual remedies and thus not constitute an independent tort.

        “The economic loss rule is a judicially created doctrine which bars a tort action

 where a defendant has not committed a breach of duty apart from a breach of

 contract.55 The economic loss rule bars a plaintiff from bringing tort claims to recover

 purely economic damages from a breach of contract absent personal injury or

 property damages.56




            52
                 Fla. Stat. 688.001 et seq.

            53
                 See, Idemn. Ins. Co. of N.A. v. Am. Aviation, Inc., 891 So.2d 532, 536 (Fla. 2004).
            54
                 Doc. 2, ¶ 24.
            55
                 Idemn. Ins. Co. of N.A. , 891 So. 2d at 537.
            56
                 AFM Corp. v. Southern Bell Telephone & Telegraph Co., 515 So. 2d 180, 180 (Fla. 1987).

                                                      17
Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 18 of 28 PageID 470




        The problem with Defendants argument is that they have incorrectly

 characterized the substance of Plaintiff’s claim as one for misrepresentation relating to

 the performance of the duties under the contract rather than a claim for fraudulent

 inducement.

        A review of the complaint discloses that the claim in Count II is indeed one for

 fraudulent inducement and not a claim for fraud in the performance of the contract.

 Specifically, Plaintiff alleges that Fenton fraudulently concealed the fact that he was a

 competitor of NLI, who had been attempting to develop a cold gas airbag inflation

 system, before entering into the Agreement.57 Plaintiff claims that it would not have

 disclosed its proprietary information to Fenton had it known Fenton was a competitor.

 Additionally, Plaintiff alleges that Fenton never intended to keep his promise not to use

 or disclose the proprietary information.58 Under Florida law, “a promise is actionable as

 fraud ... when the promisor had a positive intent not to perform his promise, or made the

 promise without a present intent to perform.”59 Thus, under either theory Plaintiff’s claim

 alleges a valid cause of action for fraudulent inducement and a breach of duty separate

 from the duties imposed by the Agreement.




            57
                 Doc. 2, ¶¶ 8, 24.

            58
                 Doc. 2, ¶24.

            59
                 Wynfield Inns v Edward Le Roux Group, Inc., 896 F.2d 483, 490-91 (11th Cir. 1990).

                                                    18
Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 19 of 28 PageID 471




        The Florida Supreme Court has recognized in its economic loss rule

 jurisprudence that fraud in the inducement is a recognized exception to the economic

 loss rule.60 This exception was also recognized by the Florida Supreme Court in

 Indem. Ins. Co. of N.A., the case favorably cited by Defendants in support of their

 argument that the claim should be barred by the economic loss rule. There, the Florida

 Supreme Court declined to apply the economic loss rule to bar a cause of action for

 professional neglect.61 The court reasoned that “the rule was primarily intended to limit

 actions in the product liability context.” Moreover, the court noted that intentional torts,

 such as fraud, that require an additional element of “intent” would remain separate from

 a contract action and are not barred by the economic loss rule.62 Thus, where the claim,

 as here, alleges an intentional tort such as fraud the claim is viewed as separate from

 the contract action. The mere fact that the damages sought in both counts are similar

 has no bearing on the separateness of the two claims.63

        Accordingly, because Plaintiff’s claim as alleged in Count II of the Complaint is

 one for the separate tort of fraudulent inducement it is not barred by the economic loss

 rule and therefore Defendants’ argument is without merit.

        Defendants alternatively argue that even if the fraudulent inducement claim is not

 barred by the economic loss rule, it is still subject to dismissal because it is preempted



            60
             HTP, Ltd. v. Lineas Areas Costarricenses, S.A., 685 So. 2d 1238, 1239 (Fla. 1996); Moransais v.
     Heathman, 744 So.2d 973, 981 (Fal. 1999).

            61
                 Idemn. Ins. Co. of N.A. , 891 So. 2d at 542.
            62
                 Id. at 542-43.
            63
                 Bradley Factor, Inc. v. U.S., 86 F. Supp. 2d 1140, 1144-46 (M.D. Fla. 2000).

                                                     19
Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 20 of 28 PageID 472




 by FUTSA. According to Defendants, Plaintiff’s claim for fraudulent inducement is

 identical to Plaintiff’s claim for misappropriation of a trade secret and essentially is

 nothing more than an attempt to tack additional causes of action on to a trade secret

 misappropriation claim in order to avoid the reach of FUTSA.

        By its own provisions FUTSA forecloses other tort actions or remedies. FUTSA

 states in relevant part that it “displace[s] conflicting tort, restitutory, and other law[s] of

 this state providing civil remedies for misappropriation of a trade secret.”64 Thus, as a

 general proposition other torts involving the same underlying factual allegations as a

 claim for trade secret misappropriation will be preempted by FUTSA.65 In order to

 pursue claims for additional tort causes of action where there are claims for

 misappropriation of a trade secret, there must be material distinctions between the

 allegations comprising the additional torts and the allegations supporting the FUTSA

 claim.66

        Therefore, the question the Court must resolve is whether the fraudulent

 inducement claim as alleged in Count II and the misappropriation of trade secret claim

 are factually distinct. The Court concludes that the claims, as pled, are distinct. The crux

 of Plaintiff’s fraud in the inducement claim is that Fenton misled Plaintiff into believing

 that NLI’s technology was being evaluated by an independent industry expert, rather

 than by a potential competitor, in order to obtain access to Plaintiff’s confidential


             64
                  Fla. Stat. § 688.008(1).
             65
              Am. Honda Motor Co. v. Motorcycle Info. Network, Inc., 390 F.Supp. 2d 1170, 1180-81 (M.D. Fla.
     2005) (where “the allegations of trade secret misappropriation alone comprise the underlying wrong, only
     the FUTSA claim will survive the motion to dismiss.”).
             66
                  Allegiance Healthcare Corp. v. Coleman, 232 F. Supp. 2d 1329, 1335-36 (S.D. Fla. 2002).

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 21 of 28 PageID 473




 proprietary information. In contrast, the gist of Plaintiff’s misappropriation of trade secret

 claim under FUTSA is that Defendants disclosed the unlawfully obtained trade secrets

 to others in the airbag industry and utilized the information to compete with Plaintiff.

        The Court therefore concludes that there are material differences between the

 fraudulent inducement claim and the FUTSA claim. Accordingly, Count II of the

 Complaint is not preempted by FUTSA and as such Defendant’s motion to dismiss

 Count II of the Complaint is due to be denied.

        3. Claim For Misappropriation of Trade Secret

        Defendants request dismissal of count III of Plaintiff’s complaint on the grounds

 that Plaintiff has failed to allege a claim for trade secret misappropriation because NLI

 has failed to allege what trade secrets were used or disclosed. Additionally, Defendants

 argue that Plaintiff’s claim for misappropriation of a trade secret is barred by the

 economic loss rule.

        As an initial argument Defendants contend that the disclosure of the actual trade

 secret in the pleading is crucial to stating a claim67 and that because Plaintiff has failed

 to “identify what part of the alleged trade secret it is accusing Fenton of using or

 disclosing, or how he used or disclosed it,” Count III of the Complaint should be

 dismissed.

        A review of the Complaint discloses that contrary to Defendant’s argument,

 Plaintiff has sufficiently identified the trade secret, which allegedly was misappropriated.

 In paragraphs 9 and 10 of the Complaint Plaintiff describes its proprietary airbag


              67
                Del Monte Fresh Produce Co. v. Dole Food Co., 136 F. Supp. 2d 1271, 1291 (S.D. Fla. 2001);
     Lovell Farms, Inc. v. Levy, 641 So. 2d 103, 104-5 (Fla. Dist. Ct. App. 1994).

                                                 21
Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 22 of 28 PageID 474




 inflation system as one which uses a micro-detonator with a scored diaphragm to open

 a helium filled, high pressure vessel, thereby inflating the airbag with helium. Plaintiff

 states in the Complaint that this technology causes the canister holding the cold gas

 under pressure to open and deploy in the milliseconds required to properly fill the

 airbag. The Court therefore concludes that Plaintiff has more than adequately identified

 the trade secrets it alleges were stolen.

        Alternatively, Defendants contend that because the alleged misappropriation

 arises from the Agreement, that the FUTSA claim is barred by the economic loss rule.

 Defendants argue that the economic loss rule bars Plaintiff from bringing a claim for

 misappropriation of a trade secret because that claim is indistinguishable from the

 breach of contract claim. In short, Defendants contend if any trade secrets were

 disclosed the obligation not to disclose the information was solely within the terms and

 scope of the Agreement and as such must be pursued through contractual remedies.

        Defendant’s argument is misplaced because it is not supported by Florida law.

 The Florida Supreme Court has unequivocally held that the economic loss rule does not

 bar statutory causes of action. 68 The reason for this rule is that “‘[C]ourts do not have

 the right to limit and, in essence, to abrogate ... the expanded remedies granted ...

 under [a] legislatively created scheme by allowing the judicially favored economic loss

 rule to override a legislative policy pronouncement and to eliminate the enforcement of

 those remedies.”69 While there are no reported Florida cases specifically dealing with


             68
                  Computech Int’l. v. Milam Commerce Park, Ltd., 753 So. 2d 1219, 1222 (Fla. 1999).
             69
               Id (quoting Delgado v. J.W. Courtesy Pontiac GMC-Truck, Inc., 693 So. 2d 602, 609 (Fla. Dist.
     Ct. App. 1997).

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 23 of 28 PageID 475




 the application of the economic loss rule in a claim under FUTSA, in all other contexts

 involving statutory claims, Florida courts have consistently held that statutory causes of

 action are not limited by the economic loss rule.70

        Accordingly, because the economic loss does not limit the right to maintain

 statutory causes of action, Defendants’ motion to dismiss Count III of the Complaint is

 due to be denied.

        4. Claim For Civil Theft

        Without citation to any supporting case law, Defendants argue that Plaintiff has

 failed to state a claim for civil theft in Count IV of the Complaint because Florida’s civil

 theft statute, Fla. Stat. §772.11, does not apply to the allegations in the Complaint.

 According to Defendants, the legislature did not include in the civil theft statute the

 specific crime of “trade secret, thefts and embezzlement”71 in the list of enumerated

 crimes for which a civil remedy applies. Thus, Defendants contend the theft of a trade

 secret is not an enumerated crime for which the legislature has provided a civil remedy.

 In the absence of such, Defendants surmise, there is no claim under the statute.

        A review of the history of the civil theft statute discloses that prior to its

 amendment in 1999, § 772.11 included § 812.081 as an enumerated crime for which a




             70
                 See, e.g. Delgado, 693 So. 2d 602, 609 (Fla. Dist. Ct. App. 1997)(economic loss rule does not
     limit claims under the Florida Deceptive And Unfair Trade Practices Act (“FDUPTA”); Stallings v. Kennedy
     Electric, Inc., 710 So.2d 195 (Fla. Dist. Ct. App. 1998)(economic loss rule does not limit claims under Fla.
     Stat. § 553.84).

             71
                  Fla. Stat. § 812.081.

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 24 of 28 PageID 476




 civil remedy applied.72 The current version of § 772.11 - which is applicable to this case

 - now includes in the list of enumerated crimes “any violation of §§. 812.012-812.037 or

 § 825.103(1)” but it does not expressly list § 812.081, as one of the enumerated

 crimes.73

        Plaintiff correctly points out that although §812.081 is not included in the current

 version of the statute, the enumerated list of crimes for which a civil remedy applies still

 lists the general theft statute, § 812.014. Section 812.014 applies whenever a person

 “knowingly obtains or uses, or endeavors to obtain or to use, the property of another

 with intent to, either temporarily or permanently...[d]eprive the other person of a right to

 the property or a benefit form the property [or] [a]ppropriate the property to his or her

 own use or to the use of any person not entitled to the use of the property.”74 Thus,

 while the civil theft statute might not include a specific listing for theft of trade secrets, it

 nonetheless continues to include the broader listing for crimes committed under the

 general theft statute.

        Moreover, there are a number of Florida cases both before and after the

 amendment, which have all consistently recognized that there is a cause of action for

 civil theft of trade secrets under Florida law.75 Lastly, well after the amendment of the

             72
                  Fla. Stat. § 772.11 (1988).
             73
                  Id.
             74
                  Fla. Stat. § 812.014(1)(a)-(b).

             75
                  See, e.g. Florida Power and Light Co. V. Utilities Services of America, Inc., 550 So.2d 13, 14
     (Fla. Dist. Ct. App. 1989)(affirming judgment entered on jury verdict for civil theft of trade secret);
     Information Technology & Engineering Corp., v. Reno, 813 So.2d 1053 (Fla. Dist. Ct. App. 2002)(referring
     suit for civil theft of trade secrets to arbitration); Future Tech International, Inc. V. Tae Zl Meida, Ltd. et al.,
     944 F.Supp. 1538, 1569 (S.D. Fla. 1996)(holding that claim for civil theft of trade secrets is not barred by the
                                                                                                     (continued...)

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 25 of 28 PageID 477




 civil theft statute the Florida Supreme Court approved the 2005 Jury Instructions for the

 general theft statute, which expressly instructed juries regarding how to ascertain the

 “value” of trade secrets for purposes of the general theft statute.76

        Accordingly, for these reasons, the Court concludes that Plaintiff has stated a

 claim for civil theft in Count IV of the Complaint and therefore Defendants’ motion to

 dismiss Count IV is due to be denied.

        5. Unjust Enrichment

        Defendants move to dismiss the unjust enrichment claim in Count V of the

 Complaint on the grounds that it is preempted by FUTSA. In its opposing memorandum

 Plaintiff states that “It appears that Count V’s claim for unjust enrichment is in fact

 preempted by FUTSA.”77 The Court agrees. Because FUTSA expressly authorizes a

 plaintiff to recover the “unjust enrichment caused by misappropriation”78 a claim for

 unjust enrichment is indistinguishable from the remedy under the statute and therefore

 is preempted. Consequently, count V of the Complaint for unjust enrichment is due to

 be dismissed.

        6. Assignment of Patents

        Defendants contend that count VI of the Complaint should be dismissed because

 Florida law does not provide a cause of action for “Assignment of Patents.” Further,


        75
         (...continued)
     economic loss rule).

              76
                   In Re Standard Jury Instructions in Criminal Cases (No. 2004-1), 915 So. 2d 609, 612 (Fla.
     2005).

              77
                   Doc. 15, p. 14, n. 4.

              78
                   Fla. Stat. § 688.004.

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 26 of 28 PageID 478




 Defendants argue that if Plaintiff is really requesting the Court to impose a constructive

 trust, Plaintiff cannot pursue the equitable remedy of imposition of a constructive trust

 because Plaintiff has an adequate remedy at law, and in any event, a constructive trust

 is merely a remedy and not a cause of action and should not be included separately in a

 count of the Complaint.

        While Defendants are correct that the equitable remedy of imposition of a

 constructive trust normally is not available where there exists adequate remedies at

 law,79 the request for an assignment of patents is an entirely different remedy from the

 equitable remedy of constructive trust. In cases involving the theft of intellectual

 property rights, such as trade secrets, a number of courts have ordered as a remedy an

 assignment of patents to the party from who confidential information was

 misappropriated when the other party secured a patent based upon unlawfully obtained

 confidential information.80

        Therefore, while the claim for assignment of patents might better be

 characterized as an available remedy in a trade secret theft case, the Court does not

 conclude that this is a sufficient reason to dismiss the claim as a stand alone count in

 the Complaint. Accordingly, Defendants’ motion to dismiss Count VI of the Complaint is

 due to be denied.



             79
                CSC Holdings, inc. v. Kimtron, Inc., 47 F. Supp. 2d 1361, 1365 (S.D. Fla. 1999) (dismissing
     constructive trust claim because statutes provided legal remedy of damages).
             80
                 Richardson v, Suzuki Motor Co. Ltd., 868 F. 2d 1226, 1249-50 (Fed. Cir. 1989), cert. denied, 493
     U.S. 853 (1989); Saco-Lowell Shops v. Reynolds, 141 F.2d 587, 598 (4th Cir. 1944) (requiring assignment
     of patent that was based on ideas received in confidence for invention development by licensee from
     licensor); Taborski v. State, 659 So. 2d 1112, 1115-16 (Fla. Dist. Ct. App. 1995), rev. denied, 666 So. 2d
     145 (Fla. 1995).

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 27 of 28 PageID 479




 D.     Motion For More Definite Statement

        Lastly, Defendants alternatively request that in the event the Court does not

 dismiss Plaintiff’s Complaint, that the Plaintiff be required to file a more definite

 statement.

        Rule 12(e) of the Federal Rules of Civil Procedure allows a party to move for a

 more definite statement before responding to the pleading when that pleading “is so

 vague or ambiguous that a party cannot reasonably be required to frame a responsive

 pleading[.]”81The motion “attacks unintelligibility in a pleading, not simply mere lack of

 detail.”82

        Suffice it to say, that the Complaint sufficiently advises the Defendants of the

 substance and the nature of the claims in each of the counts. Because the Federal

 Rules of Civil Procedure provide for notice pleading it is the general view that “[m]otions

 for more definite statement are disfavored in light of the liberal discovery practices.”83

 Therefore, to the extent that the Defendants need to obtain additional information to

 defend themselves at trial discovery is the avenue to pursue, and not a motion for a

 more definite statement.84 Accordingly, the Defendants’ alternative request for a more

 definite statement is also due to be denied.




              81
                   Davison v. Santa Barbara High School District, 48 F. Supp 2d 1225, 1228 (C.D. Cal. 1998)

              82
                   Id. at 1228

              83
                   Bazal v. Belford Trucking Company, 442 F.Supp. 1089 (S.D. Fla. 1977).

              84
                   Erickson v. Hunter, 932 F.Supp. 1380, 1384 (M.D. Fla. 1996).

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Case 5:06-cv-00184-WTH-GRJ Document 48 Filed 02/23/07 Page 28 of 28 PageID 480




                               IV. RECOMMENDATION

       In view of the foregoing, it is respectfully RECOMMENDED that Count V of

 Plaintiff’s Complaint should be DISMISSED but that in all other respects Defendants’

 Motion To Dismiss, Or Alternatively, For A More Definite Statement (Doc. 5) is due to be

 DENIED.

       IN CHAMBERS in Ocala, Florida, on February 23, 2007.




 Copies to:

       The Honorable Wm. Terrell Hodges
       Senior United States District Judge

       Counsel of Record




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